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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )       8:07CR19
       vs.                                       )
                                                 )       PRELIMINARY ORDER
STEVEN PALMATEER, and                            )       OF FORFEITURE
MARIANO SICIAROS-QUINTERO,                       )
                                                 )
                     Defendants.                 )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 183). The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed

to plead guilty to Counts I, IV, V and VI of said Indictment. Count I of said Indictment

charges the Defendants with conspiracy to distribute and possess with intent to distribute

methamphetamine, in violation of 21 U.S.C. § 846. Count IV of said Indictment charges

the Defendant, Mariano Siciaros-Quintero, with distribution and possession with intent to

distribute methamphetamine, a violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1). Counts

V and VI of said Indictment charge the Defendants with using $1,900.00, $2,000.00 and

a 2005 Pontiac Grand AM, VIN 1G2NE52E45M142451, to facilitate the commission of the

conspiracy and charges said personal properties are derived from proceeds obtained

directly or indirectly as a result of the commission of the conspiracy.

       2. By virtue of their pleas of guilty, the Defendants forfeit their interests in the

subject properties, and the United States should be entitled to possession of said

properties, pursuant to 21 U.S.C. § 853.
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       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 183) is hereby sustained.

       B. Based upon Counts V and VI of the Indictment and the Defendants’ pleas of

guilty, the United States is hereby authorized to seize the $1,900.00, $2,000.00, and 2005

Pontiac Grand AM, VIN 1G2NE52E45M142451.

       C. The Defendants’ interests in said properties are hereby forfeited to the United

States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the United States in

its secure custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish at

least once for three successive weeks in a newspaper of general circulation, in the county

where the subject properties are situated, notice of this Order, Notice of Publication

evidencing the United States’ intent to dispose of the properties in such manner as the

Attorney General may direct, and notice that any person, other than the Defendants,

having or claiming a legal interest in any of the subject forfeited properties must file a

Petition with the court within thirty (30) days of the final publication of notice or of receipt

of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the



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nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 14th day of November, 2007.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            United States District Judge




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